                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


 UNITED STATES OF AMERICA,
                                                   Case No. 3:24-mj-1036
 ► Wq



 PAUL FAYE, SR.,                                   Magistrate Judge Alistair E. Newbern

         Defendant.


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        On the basis of Defendant's affidavit in this cause, the Court determines that Defendant:

❑ is financially able to employ counsel and, therefore, denies his application for appointment of
counsel at government expense.

® is financially unable to employ counsel and appoints the Office of the Federal Public Defender
to represent him.

❑X is financially unable to pay the fee of any witness and pursuant to Rule 17(b), of the Federal
Rules of Criminal Procedure, the Clerk shall issue a subpoena for any witness, PROVIDED that
Defendant and his counsel shall submit subpoenas only for those witnesses whose presence is
necessary to present an adequate defense to the charge or charges.

❑ Upon Motion of the Government, the Court may order repayment or partial repayment from
Defendant for the attorney and witness fees for these services should it appear Defendant has such
ability at a later time.

        It is so ORDERED.


                                                     ALI TA     . NEWBERN
                                                     Unite  ates Magistrate Judge




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